
Metro Health Products, Inc., as Assignee of MICHAEL DOUGLAS, Appellant,
againstNationwide Ins., Respondent.



Appeal from an order of the Civil Court of the City of New York, Kings County (Carol Ruth Feinman, J.), entered September 8, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
For the reasons stated in Metro Health Prods., Inc., as Assignee of Arthur Louis v Nationwide Ins. (52 Misc 3d 138[A], 2016 NY Slip Op 51122[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2016]), the order is affirmed.
Elliot, J.P., Pesce and Aliotta, JJ., concur.
Decision Date: November 17, 2016










